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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA
                                                       Criminal No. 18-292
                     v.

 ROBERT BOWERS


                                            ORDER

       AND NOW, this 22nd day of December, 2021, upon due consideration of the Joint

Motion to Adjust Filing Deadlines for Motion to Change Venue, and good cause appearing:

       IT IS HEREBY ORDERED that any defense challenge to venue shall be filed by January

17, 2022; the government response shall be filed by February 17, 2022; and the defense reply shall

be filed by March 3, 2022. Any venue motion and response may be filed under seal, consistent

with prior orders of this Court.




                                             Donetta W. Ambrose
                                             United States District Judge
